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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA   )
                           )
    v.                     )            CRIMINAL ACTION NO.
                           )               2:13cr73-MHT
OMARIOUS SHARUSSELL GREENE )                  (WO)


UNITED STATES OF AMERICA          )
                                  )
    v.                            )     CRIMINAL ACTION NO.
                                  )        2:05cr67-WHA
OMARIOUS SHARUSSELL GREEN         )           (WO)

                              OPINION

    Defendant Omarious Sharussell Greene attempted to buy

three kilograms of cocaine from an individual who turned

out to be a federal agent.            The court had before it two

cases involving charges against Greene arising from this

conduct.    In the first case, United States v. Greene,

criminal action no. 2:13cr73-MHT, the issue before the

court was sentencing for a new criminal conviction upon

his guilty plea to one count of conspiracy to possess

with intent to distribute 500 grams or more of a mixture

containing a detectable amount of cocaine powder, 21
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U.S.C. §§ 846, 841(a)(1).             In the second, older case,

United States v. Green, criminal action no. 2:05cr67-WHA,

the court had before it a petition to revoke Greene’s

supervised release based on this same conduct, to which

he also pled guilty.1

    The court held a joint hearing in both cases.2                      In

the new case, the court granted Greene’s motion for a

variance pursuant to 18 U.S.C. § 3553(a).             The court then

imposed a sentence at the mandatory-minimum level of 120

months for the new conviction and 30 months for the

supervised-release violation, with both sentences to run

concurrently.     The court orally gave its reasons for the

variance and sentences at the joint hearing; however, for




    1. On the court’s docket for one of the cases,
Greene’s name is spelled “Greene,” while on the docket
for the other it is spelled “Green.”       At the joint
hearing in both cases, Greene made clear that the former
is the correct spelling of his name.

    2. The revocation petition was initially assigned to
another judge. However, the other judge and the parties
agreed to have both matters heard and decided together by
the undersigned.
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the    sake     of        clarity, this          opinion      memorializes

those reasons.



                                       I.

      With regard to the new criminal case, the court found

two factors to be particularly important in its decision

to grant a § 3553 variance.



                                       A.

      The   first        factor   the       court   considered        was   the

application         of    USSG    §     4B1.1,      the    career-offender

guideline of the U.S. Sentencing Guidelines, in light of

the fact that Greene was only 16 years old at the time of

one of the predicate offenses.                Guideline 4B1.1 provides

for increased penalties for individuals deemed career

offenders.     A defendant with two prior felony convictions

of either crimes of violence or controlled-substance

offenses      may    qualify      as    a    career       offender.         USSG




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§ 4B1.1(a).3    Once the career-offender guideline is found

to apply, the Sentencing Guidelines severely increase the

recommended penalties.

       In this case, the difference in the guideline ranges

is marked.     The applicable guideline provided for a base-

offense level of 28 based on the amount of drugs at

issue.     USSG § 2D1.1(c)(6).           With the career-offender

guideline and based on the statutory maximum of life for

this offense, the offense level was instead 37.                     USSG

§ 4B1.1(b)(1).          However, with or without the career-

offender guideline, the offense level would be reduced in

this    case   by   a   total   of   seven   levels   based    on    two

factors: acceptance of responsibility, USSG § 3E1.1, and

substantial assistance, USSG § 5K1.1. Therefore, without

the career-offender guideline, Greene’s adjusted-offense

level would have been 21, and with it the adjusted-


    3. The other two requirements to qualify as a career
offender are (1) that the defendant was at least 18 at
the time of the instant offense and (2) that the instant
offense of conviction is a felony and either a crime of
violence   or   controlled-substance  offense.      USSG
§ 4B1.1(a).

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offense level was 30.        In addition, the career-offender

guideline increased Greene’s criminal-history category

from V to VI.       USSG § 4B1.1(b).          Without the career-

offender guideline and without taking into account the

120-month mandatory-minimum sentence, Greene’s guidelines

range would have been 70-87 months.4                With the career-

offender guideline, his range was 168-210 months.                 Thus,

the   increased    offense    level    and    increased     criminal-

history   category     together     account    for    the   massively

higher    guidelines     range     under      the    career-offender

guideline.



    4. The Sentencing Guidelines provide that, when the
mandatory-minimum sentence is higher than the entire
guidelines range, the guideline sentence is the mandatory
minimum.   USSG § 5G1.1(b).    In this case, there is a
mandatory minimum of 120 months. However, a departure
for substantial assistance may, on motion by the
government, justify a sentence below the mandatory
minimum. See USSG § 5K1.1, comment. (n.1); 18 U.S.C. §
3553(e); 28 U.S.C. § 994(n). The government made such
motions for each of Greene’s co-defendants, and the
parties agreed to a four-level reduction for substantial
assistance for Greene. Therefore, for the purposes of
this hypothetical comparison, the court assumes the
applicable sentencing range would be 70-87 months absent
the career-offender guideline.

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      One of Greene’s qualifying prior convictions, for

robbery (a crime of violence), was committed when he was

16 years old.        At 17, he was sentenced as an adult to 20

years in the Alabama Department of Corrections, of which

he served six before being paroled.              According to Greene,

his classification officer at the prison told him that he

was, at that time, the second-youngest person ever placed

in the department’s custody.

      This conviction qualifies as a prior felony under the

career-offender guideline, despite Greene’s age at the

time.     The commentary to Guideline 4B1.2, which contains

various definitions for the career-offender guideline,

states that, “A conviction for an offense committed prior

to    age     eighteen    is   an    adult    conviction      if   it      is

classified as an adult conviction under the laws of the

jurisdiction in which the defendant was convicted.”                   USSG

§    4B1.2,    comment.     (n.1,    “Prior    felony    conviction”).5


    5. It is interesting that, while Guideline 4B1.2
provides a number of definitions for the career-offender
guideline, the statement that an offense committed prior
                                          (continued...)
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Greene   does   not   dispute    that    his   robbery     conviction

qualifies as an adult conviction under Alabama law.


    5. (...continued)
to age 18 could qualify as a predicate offense is
contained in the commentary and not the text to Guideline
4B1.2. The Sentencing Guidelines address the different
roles of commentary at USSG 1B1.7:

         “The Commentary that accompanies the
         guideline sections may serve a number of
         purposes. First, it may interpret the
         guideline or explain how it is to be
         applied.   Failure     to   follow   such
         commentary could constitute an incorrect
         application     of     the    guidelines,
         subjecting the sentence to possible
         reversal on appeal. See 18 U.S.C.
         § 3742. Second, the commentary may
         suggest circumstances which, in the view
         of the Commission, may warrant departure
         from the guidelines. Such commentary is
         to be treated as the legal equivalent of
         a   policy   statement.    Finally,   the
         commentary    may    provide   background
         information,       including     factors
         considered in promulgating the guideline
         or reasons underlying promulgation of
         the   guideline.    As   with  a   policy
         statement, such commentary may provide
         guidance in assessing the reasonableness
         of any departure from the guidelines.”

For purposes of this opinion, this court has not placed
significance in the fact that the relevant prior-felony-
conviction   definition  falls   in  Guideline   4B1.2's
commentary but not its text.

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      Nevertheless, the court finds that the fact that

Greene was 16 at the time of his predicate offense is an

important factor to consider in determining what sentence

to impose in light of the purposes of sentencing set

forth in 18 U.S.C. § 3553(a).            These purposes, which were

all   carefully      considered    by    the   court,      include   “the

history and characteristics of the defendant,” as well as

“the need for the sentence imposed ... to afford adequate

deterrence    to     criminal   conduct”       and   “to   protect    the

public from further crimes of the defendant.”

      The Supreme Court has made abundantly clear in a

series   of   recent    cases     that    “youth     is    more   than   a

chronological fact.”         Miller v. Alabama, 132 S. Ct. 2455,

2467 (2012) (striking down mandatory life without parole

for crimes committed by minors) (internal quotation marks

omitted); see also Graham v. Florida, 560 U.S. 48 (2010)

(striking     down    life   without      parole     for   non-homicide

crimes committed by minors); Roper v. Simmons, 543 U.S.

551 (2005) (striking down capital punishment for crimes



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committed     by     minors).          Rather,       “children      are

constitutionally different from adults for purposes of

sentencing.”       Miller, 132 S. Ct. at 2464.

      In these cases, the Supreme Court’s insights into the

characteristics of youth have been consistent and clear:

          “First, children have a ‘lack of
          maturity and an underdeveloped sense of
          responsibility,’         leading      to
          recklessness, impulsivity, and heedless
          risk-taking. Second, children ‘are more
          vulnerable ... to negative influences
          and outside pressures,’ including from
          their family and peers; they have
          limited ‘contro[l] over their own
          environment’ and lack the ability to
          extricate themselves from horrific,
          crime-producing settings. And third, a
          child’s character is not as ‘well
          formed’ as an adult’s; his traits are
          ‘less fixed’ and his actions less likely
          to be ‘evidence of irretrievabl[e]
          deprav[ity].’”

Id.   (quoting     Roper,   543   U.S.    at    569-70)    (citations

omitted).    The Court has concluded that these findings,

relying not only upon “common sense” but also on an

“ever-growing”      body    of   “science      and   social   science”

research, “both lessen[] a child’s moral culpability and



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enhance[] the prospect that, as the years go by and

neurological development occurs, his deficiencies will be

reformed.”    Id. at 2464-5, 2464 n.5 (internal quotation

marks omitted).       Simply put, “it would be misguided to

equate the failings of a minor with those of an adult.”

Roper, 543 U.S. at 570.

    As    discussed     above,     the    current     commentary         in

Sentencing Guidelines states that, “A conviction for an

offense committed prior to age eighteen is an adult

conviction if it is classified as an adult conviction

under the laws of the jurisdiction in which the defendant

was convicted.”        USSG § 4B1.2, comment. (n.1, “Prior

felony conviction”).         This commentary was added to the

Guidelines    in   1991,    well    before     Roper,    Graham,     and

Miller.   See USSG 4B1.2 comment. (n.3) (1991).

    While Greene is a career offender based in part on

actions he took when he was 16 years old, the Supreme

Court has stated that “it is less supportable to conclude

that even a heinous crime committed by a juvenile is



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evidence of irretrievably depraved character.”                      Roper,

543 U.S. at 570.          Considering his young age at the time

of     the    predicate     felony     conviction,       the    court       is

convinced that the same punishment is not appropriate for

Greene as would be for someone with two qualifying prior

convictions for conduct as an adult.                   In other words,

while it may be appropriate to sentence more severely a

defendant who has two qualifying felony convictions, one

of which may have been committed while the defendant was

a minor, and who meets all of Guideline 4B1.1's other

requirements, it may also be appropriate pursuant to 18

U.S.C. § 3553(a), and in light of the Supreme Court’s

recent decision on the culpability of minors as well as

any other relevant circumstances in the case, to draw

distinctions among defendants who have two predicate

convictions for adult conduct, those who have only one

conviction for adult conduct along with a conviction for

conduct committed while a minor, and those who might have

only convictions for conduct committed while a minor.



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Also, it may be relevant to consider just how far under

18 the defendant was when he committed the predicate

offense (for example, 15 as opposed to being just shy of

18) as well as other relevant circumstances that might

touch upon the defendant’s culpability in light of his

youth.

       This   court   is   not   alone      in    finding   the    age    of

defendants at the time of predicate felonies for the

career-offender       guideline        to    be     relevant      to     the

appropriate sentence in particular cases.                   For example,

the Eighth Circuit Court of Appeals, sitting en banc,

affirmed a variance from guidelines minimum of 360 months

to a sentence of 120 months, based in large part on the

fact that the defendant was a minor at the time he

committed one of the predicate offenses for the career-

offender guideline.        United States v. Feemster, 572 F.3d

455, 459-60, 464 (8th Cir. 2009) (en banc); see also

United States v. Wilks, 464 F.3d 1240, 1242, 1245-6 (11th

Cir.    2006)   (holding     that    conviction        as    a    juvenile



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qualified    as    predicate         offense        for    career-offender

guideline, but affirming over defendant’s challenge a

variance of only 50 months based on the defendant’s age

at the time of the predicate offense).



                                     B.

    The second factor the court considered, pursuant to

18 U.S.C. § 3553(a), was the role the government itself

played in prompting this crime.             Some seven months before

the conspiracy began, Greene was released from federal

custody, having served an 81-month sentence for a drug

offense.     However,        the   series      of    events       leading    to

Greene’s    arrest      in    this    case     began        not    with     his

independent choice to become involved again in selling

drugs, but with a call from a confidential informant

working    for    the   government.          That         informant,      after

initiating contact, apparently offered Greene drugs at

significantly below-the-normal market price: $ 22,000

instead of the normal $ 32,000 per kilo.



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       Such “sting” operations, initiated by the government,

are a mainstay of criminal prosecution.               But the use of

a sting operation in this case is significantly different

from an ordinary sting.            For, unlike a case involving a

controlled drug purchase from a known drug dealer, in

this case there is no evidence whatsoever that Greene was

involved in dealing drugs, or indeed in any criminal

conduct, at the time the confidential informant contacted

him.     On the contrary, it appears that he was, for the

first    time,     on   a   path   of    potential   rehabilitation.

Having taken a number of business and entrepreneurship

courses while serving his previous federal sentence,

Greene, upon release, was both gainfully employed and was

running his own legitimate small business.                Information

presented     at    sentencing       suggests    that     Greene,        an

individual who was first incarcerated as an adolescent

and who has spent only a small fraction of his adult

years out of custody, was finally earning a legitimate




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living.     The confidential informant’s tempting offer of

large, quick profits changed all of that.

    That the government initiated contact, and even that

the government made an offer “too good to pass up,” does

not excuse Greene’s conduct.           As the government pointed

out at sentencing, while agents baited the hook, Greene

did bite.    Nor, as the parties agreed, was Greene likely

to prevail on a defense of entrapment, which requires

that the defendant lack a predisposition to commit the

crime in question.        See United States v. Sistrunk, 622

F.3d 1328, 1332 (11th Cir. 2010).

    But     the   court   does    believe     these    circumstances

present a difference in culpability.            This case is unlike

the case of a drug dealer who would be selling even if

the government never set up a sting operation.               Here, the

government tempted Greene, and the court is convinced

that, but for the government’s offer, Greene would still

be earning a legitimate living.




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                                         C.

       Taken together, these two factors led the court to

conclude that a variance pursuant to 18 U.S.C. § 3553(a)

was warranted in this case.                     Despite the appropriate

application         of    Guideline       4B1.1,     the    career-offender

guideline, to this case, the court still believes it is

appropriate to take into account the fact that Greene was

only     16    at        the     time    of    his    predicate         offense,

particularly in light of Miller.                   To be clear, the court

has    not     held       that       a   guidelines      sentence       is    not

appropriate      when          the   defendant    committed       one    of   the

career-offender predicate felonies as a minor.                          Nor does

the court believe that the career-offender guideline

should not apply at all to convictions for conduct as a

minor.        Rather,          the   court    believes     that   Greene      was

properly designated as a career offender, and should be

subject to an enhancement of his sentence on that basis,

but, because he was only 16 when he committed one of this

predicate offenses, that the enhancement should not be to



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the same extent for Greene as it would be for a defendant

whose predicate convictions were solely for adult conduct

or for conduct committed at 17.

    Similarly,        Greene’s     decision     to   engage    in    this

criminal    conduct     is    serious     and   merits      punishment.

However, the court finds that Greene, having been lured

back into criminal conduct by the sting operation, should

not be punished to the same extent as if the sting merely

caught   him    in    the    act   of    criminal    conduct   already

underway.    Moreover, the court is convinced that, but for

the government’s conduct, Green would today not even be

subject to the career-offender guideline and instead, as

stated, would be well on his way to full rehabilitation.

    In determining the size of the variance and the

appropriate sentence, the court was also conscious of

“the need to avoid unwarranted sentence disparities among

defendants     with    similar     records    who    have   been    found

guilty of similar conduct.”             18 U.S.C. § 3553(a)(6).          As

stated, if the career-offender guideline had not applied



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and in the absence of the mandatory-minimum requirement,

Greene’s guidelines range would have been 70-87 months.

This would have been in line with his co-defendants,

whose culpability was roughly equivalent to Greene’s and

who received 84 months and 63 months, respectively.                      On

the   one   hand,   then,    the    need    to    avoid     unwarranted

disparities is a factor that favors a lower sentence for

Greene.     On the other hand, the court recognizes that, in

the     career-offender       quideline,         Congress     and    the

Sentencing      Commission      have       singled    out      Greene’s

particular type of criminal history as being of special

concern, and the court agrees that his criminal history

warrants a sentence above the 70-87 month range.

      The court believes that a sentence of 120 months

adequately takes into account these considerations, in

particular that (1) Greene should be punished as a career

offender, but not to the same extent as he would if both

prior    convictions    were    for     adult    conduct;     and   that

(2) Greene should be punished for the cocaine, but not to



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the same extent as he would if he had already been

engaged       in    drug   trafficking      before   the   government’s

involvement.         The court would view this as an appropriate

sentence even in the absence of the 120-month mandatory

minimum.

                                      II.

       As to the supervised-release violation, based on

Greene’s criminal-history category at the time of his

original conviction, the grade of his current offense,

and the class of his original conviction, the advisory

guidelines sentence upon revocation was 30-37 months.

USSG § 7B1.4(a).           The court sentenced Greene to 30 months

in prison.

       However, given that Greene was well on his way to

full    and    exemplary      rehabilitation      during   supervision

prior    to        being   ensnared    in   the   government’s    sting

operation, the court determined that a 30-month sentence

to run concurrently with the 120-month from his new

conviction is adequate punishment.



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                                 ***

    For all of these reasons, the court was convinced

that a variance down to a sentence of 120 months for the

new conviction and a sentence of 30 months for the

supervised     release      violation,       with     both     to    run

concurrently, were appropriate to satisfy the factors

reflected in 18 U.S.C. § 3553(a).

    DONE, this the 30th day of January, 2014.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
